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 7                                       UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
   SENG XIONG; THAO XIONG; LOR VANG;                   Case No. 23-cv-02531-DJC-DB
 9 and LUE VANG

10                                                     PLAINTIFFS SENG XIONG; THAO
                       Plaintiffs,                     XIONG; LOR VANG; AND LUE VANG
11                                                     MEMORANDUM OF POINTS AND
                         v.                            AUTHORITIES IN OPPOSITION TO
12                                                     DEFENDANT DR. YANG DAO’S
   LAO PEOPLE'S DEMOCRATIC REPUBLIC;                   MOTION TO DISMISS; ALTERNATIVE
13 PRESIDENT THONGLOUN SISOULITHIS;                    REQUEST FOR LEAVE TO AMEND
14 PRIME MINISTER SONXAI SIPHANDON;
   SOUANSAVAN VI-GNAKET, MINSTER                       Date: March 28, 2024
15 OF JUSTICE; GENERAL CHANSAMONE                      Time: 1:30pm
   CHANYALATH, MINISTER OF DEFENSE;                    Courtroom: 10
16 LIEUTENANT GENERAL VILAY
   LAKHAMFONG, MINISTER OF PUBLIC
17
   SECURITY; DR. YANG DAO
18
             Defendants
19

20

21 Plaintiffs Seng Xiong, Thao Xiong, Lor Vang, and Lue Vang herewith submit Memorandum of

22 Points and Authorities in support of opposition to Defendant Dr Yang Dao’s motion to dismiss.

23

24

25

26
27                                                                                                 1
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 1                                         TABLE OF AUTHORITIES
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 9
     Kiobel, 133 S.Ct. at 1669………………………………………………………………………….15
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     Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681, 690 (9th Cir. 2011)………………………...8
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     Sexual Minorities Uganda v. Lively, 960 F. Supp. 2d 304, 323-24 (D. Mass. 2013)……...14-15, 17
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     Will Co., Ltd. v. Lee, No. 21-35617 (9th Cir. 2021)……………………………………………….20
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                                                   I.
 1                                          SUMMARY OF ACTION
 2 Plaintiffs are each Hmong people born in Laos. Each of them were impacted by the circumstances

 3
     we describe as the Laos atrocities against Hmong people, which forms the basis for the current
 4
     civil lawsuit for violation of the Alien Tort claims act, 28 U.S.C section 1350. That act provides
 5
               “The district courts shall have original jurisdiction of any civil action by an alien for a tort
 6
               only, committed in violation of the law of nations or a treaty of the United States.”
 7

 8
     The details of the basic charging allegations under the Alien Tort Claims Act are set forth in the
 9
     excerpts of Plaintiff’s complaint, pages 58-62, paragraphs 97-114, a copy of which is attached to
10
     this brief as Exhibit D.
11

12

13 The following is a summary of the primary charging allegations of the violation of the Alien Tort

14 Claims Act [See Complaint, paragraphs 98-121]:

15

16 The defendants violated of each Plaintiff's right to peaceful and quiet enjoyment of their homes

17 and property in Laos after the peace treaties were entered into. Instead of permitting peaceful

18 coexistence between the Hmong people and the Laos Communist regime, the Communist regime
19 went after the Laos people in a campaign of horrors and atrocities, which required for survival the

20 Hmong people generally to flee into the jungles. Plaintiffs fled the country of Laos, and made their

21
     way over to Thailand, where they became refugees. They had to give up all of their homes,
22
     possessions, and belongings, including their real property their personal property livestock
23
     basically their entire lives were removed from where they had grown up where they had lived The
24
     only place they really had known. Each of the plaintiffs left louse for Thailand became refugees in
25
     Thailand and were granted refugee visas to come to USA, came to USA, and became permanent
26
27                                                                                                                2
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 1 residency visa holders in the USA. Each of the plaintiffs is currently in USA as a green card

 2 holder and is thus in the category of an alien asserting this tort claim.

 3
     Each of the plaintiffs have a prospective economic advantage in the form of the creation of a
 4

 5 Hmong homeland. The Lao People's Democratic Republic, with the direct participation of the

 6 named individual defendants herein, and with the assistance of Laos spies and operatives based in

 7 the territory of the USA, and as described above, have intentionally and willfully interfered with

 8 plaintiffs’ prospective economic advantage by taking steps to eliminate plaintiff's attempts to

 9 establish that Hmong homeland.

10
     The defendants and each of them accomplished this interference by making sure through their
11
     spying efforts that the process of establishing a separate country for the Hmong people would
12

13 never happen.

14
     The US federal government took the position that such a Hmong homeland would require official
15
     USA permission and or official United Nations permission, and that Plaintiff Seng Xiong never
16
     obtained that permission.
17

18 Unfortunately, the jury accepted that thesis, and convicted Seng Xiong during 2017 following a
19 federal court trial in the United States District Court for the District of Minnesota. Seng Xiong was

20
     sentenced to 8 years in prison, and was released from that imprisonment during May 2022.
21

22 The other plaintiffs were not prosecuted in any way, shape, or form from that action.

23
     The arrest of Seng Xiong brought the Hmong country/homeland program to a standstill. The
24
     government seized all the funds that would have been used and made available to buy land, and
25
     rather than allowing that program to go forward, stopped it in its tracks.
26
27                                                                                                      3
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 1 As noted above, Plaintiffs have continued to work on the campaign to establish a country/

 2 homeland for the Hmong people, and have not given up hope on this extremely important effort on

 3 behalf of the Hmong people.

 4

 5 Further torts committed by the Defendants and each of them include the murder and torture of

 6 Plaintiffs’ immediate family members, thus the intentional tort of intentionally assaulting and

 7 killing the plaintiffs’ family members. as specified above.

 8

 9 The conduct in implementing a policy that continues through to this writing also constitutes the

10 intentional tort of infliction of extreme emotional distress causing each of the Plaintiff’s general

11 damages.

12

13
     The conduct in eliminating all possibility of residing peacefully in Laos after the war, constitutes
14
     the intentional tort of interference with and breach of the right to peaceful enjoyment of their
15
     property and land.
16

17
     The conduct in interfering with plaintiff's efforts to establish a Hmong Homeland constitutes the
18
     intentional tort of intentional interference with prospective economic advantage. From the spying
19
     efforts of the defendants USA-based spies including defendant Dao, the defendants had actual
20
     knowledge of the plaintiffs’ prospective economic advantage in terms of their efforts to locate and
21
     establish a place where Hmong people could call home. The defendants intentionally took the
22

23 efforts described above to interfere with that perspective economic advantage with the intent to

24 ruin and destroy all hopes, dreams, and activities of the plaintiffs to form a Hmong homeland

25 somewhere on Earth.

26
27                                                                                                          4
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 1 These intentional torts are all intertwined with one another, and are further part and parcel of the

 2 overall campaign by the Laos Communist regime and each of the defendants herein to commit a

 3 series of war crimes and atrocities against the among people generally and including the plaintiffs

 4 specifically.

 5

 6
     As part and parcel of these atrocities committed by defendants and each of them, they have also
 7
     commenced upon a campaign to make sure that the Hmong people can never have their own
 8
     homeland. The defendants, and each of them, have taken affirmative steps, including activities in
 9
     the territory of the USA to stop the Hmong Homeland effort, and to make sure that the Hmong
10
     people never have a place to call home.
11

12
     The factual details that lay out the claims against Dr. Dao are set forth in the complaints Section II
13

14 (Description of parties) and Section III (Conduct of Defendants Occurring within the Territory of

15 the United States and Within the Eastern District of California). Excerpts from the complaint of

16 sections II and III (complaint, pages -6-28) are attached to this legal brief as attachment C, and can

17 be summarized as follows:

18             One of the events that led to a complete cessation of the Hmong homeland campaign was

19             done by defendant Yang Dao, who gave false police reports to the Minnesota Police
20             department that the Hmong homeland program was actually some kind of an illegal
21             gambling ring. There was never any kind of prosecution for any kind of illegal gambling
22             ring, but the false reporting of the illegal gambling ring was enough to cause the Minnesota
23
               Police Department to refer the matter over to the USA Secret Service. The USA Secret
24
               Service agents then got involved, and completed a different kind of investigation into a
25
               claim of wire fraud and mail fraud. That claim was based on the notion that the Hmong
26
               homeland campaign, of which all plaintiffs have been directly and personally involved in,
27                                                                                                         5
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 1             was actually a fraud to just collect money up from Hmong people without any intent of
 2             ever actually establishing a Hmong homeland. This was a false report in that plaintiff's at
 3             all times duly intended to set up a monk country, and still have that general intent and are
 4             still undertaking efforts to establish a Hmong homeland.
 5
                                              II.
 6                        SUMMARY OF DEFENDANT DAO'S MOTION TO DISMISS
 7
     Defendant Dao filed a three-page letter on January 23, 2024 in which he requested that the court
 8
     dismissed this action against him. His letter brief is attached as Exhibit B to this legal brief.
 9

10

11 On January 26, 2024 The Court issued a minute order setting a hearing on defendant Dao’s motion

12 to dismiss for March 28, 2024. A copy of the court minute order is attached to this legal brief as

13 Exhibit A.

14

15 Dr Dao's motion is largely in the realm of a denial of any culpability. See Dr. Dao's motion to

16 dismiss, Exhibit B hereto, page 2, in which he states:

17             “With love for the Hmong and Lao people, both expatriates and those remain [sic] back in
18             the homeland of Laos, I have dedicated my life service to support the US-Laos bilateral
19             relationships that seek to promote peace, citizen diplomacy, and positive relations between
20
               the United States and Laos to foster family reunification, trade, business and tourism, in
21
               which tens of thousands Hmong and Lao overseas are visiting their country of Laos every
22
               year.”
23

24

25

26
27                                                                                                            6
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                                         III.
 1             DEFAULTS ENTERED AS TO EACH OF THE LAOS BASED DEFENDANS
 2

 3
     The United States District Court for the Eastern District of California issued on February 5 2024 a
 4
     clerk's entry of default as against each of the Laos-based defendants. A copy of the clerk's entry of
 5
     default is attached as Exhibit E to this legal brief.
 6

 7
     Dr Dao remains as the sole responding defendant in this action.
 8

 9                                                   IV.
10                                                ARGUMENT

11        A. Standards On Motions To Dismiss

12 Dr. Dao's motion to dismiss does not specify whether it is a motion to dismiss under for lack of

13 subject matter jurisdiction; or personal jurisdiction. He doesn’t give any facts in his moving papers

14 that could be roughly construed as challenging the Court’s subject matter jurisdiction or personal

15 jurisdiction over him. He has been a long-time resident of the United States, and even says as

16 much in his moving papers. See Exhibit B hereto, Dr. Dao’s motion to dismiss, page 2, quoted

17 above, in which he proclaims his involvement and Hmong community activities, his love for the

18
     Hmong people, and generally admits that he has been residing in the United States for decades.
19

20
     Accordingly, we do not make much analysis on subject matter or personal jurisdiction claim, and
21
     instead construe his motion as more in line with a FRCP rule 12(b)(6) motion to dismiss for failure
22
     to state facts sufficient to constitute a claim for relief. See FRCP rule 12(b)(6), which provides in
23
     part:
24

25

26
27                                                                                                           7
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 1         “(b) HOW TO PRESENT DEFENSES. Every defense to a claim for relief in any pleading must be
 2         asserted in the responsive pleading if one is required. But a party may assert the following
 3         defenses by motion:
 4                                                       ***
           (6) failure to state a claim upon which relief can be granted
 5

 6

 7 The standards that apply to a motion to dismiss for failure to state fax constituting a claim for

 8 relief are set forth as follows:

 9

10 “A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim

11
     upon which relief can be granted ‘tests the legal sufficiency of a claim.’” Conservation Force v.
12
     Salazar, 646 F.3d 1240, 1241–42 (9th Cir. 2011) (quoting Navarro v. Block, 250 F.3d 729, 732
13
     (9th Cir. 2001)). When determining whether a claim has been stated, the Court accepts as true all
14
     well-pled factual allegations and construes them in the light most favorable to the plaintiff. Reese
15
     v. BP Exploration (Alaska) Inc., 643 F.3d 681, 690 (9th Cir. 2011). However, the Court need not
16
     “accept as true allegations that contradict matters properly subject to judicial notice” or
17
     “allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable
18
     inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (internal quotation
19

20 marks and citations omitted). While a complaint need not contain detailed factual allegations, it

21 “must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

22 on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

23 U.S. 544, 570 (2007)). A claim is facially plausible when it “allows the court to draw the

24 reasonable inference that the defendant is liable for the misconduct alleged.” Id.

25

26
27                                                                                                            8
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          B. The Complaint States Facts Sufficient to Constitute a Claim for Relief Under The
 1           Alien Tort Claims Act
 2

 3
     Defendant’s motion is largely a motion to dismiss pursuant to FRCP Rule 12(b)(6) for failure to
 4
     state facts sufficient to constitute a claim for relief.
 5

 6
     Defendant Dao’s denial of the allegations of the complaint does not constitute a valid basis for a
 7
     motion to dismiss. Instead, and as pointed out above in Argument A, under a motion to dismiss the
 8
     court is to treat all allegations of the complaint as true and is then to apply legal standards to those
 9
     facts to determine if a claim for relief has been stated.
10

11
     We point out that in the particulars of the allegations as to Dr. Dao that we actually have YouTube
12

13 publications in which photographs of Dr. Dao back in Laos receiving medals of commendation are

14 shown. These YouTube publications are described in the complaint section III, excerpts of which

15 are attached as Exhibit C to this brief and include the following description of the YouTube

16 publications:

17             1.Wikilinks re Dr. Yang Dao:
18             www.wikileaks.org/plusd/cables/07VIENTIANE487_a.html
19             6 pages
20             Pages of interest
21
               Page 1, summary:
22
               “The politics of the Hmong communities in both Laos and the United States are extremely
23
               complex. As a result, a conversation with even a well educated Hmong (or Hmong-
24
               American) leader involves exaggeration and guess work and often raises more questions
25
               than it provides answers. Nevertheless, a recent conversation with Hmong-American leader
26
               Dr. Yang Dao raises several issues that may be worth pursuing. Dr. Yang Dao also asks for
27                                                                                                          9
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 1             police/FBI protection before agreeing to address a Hmong-American gathering in Fresno,
 2             California. Since he may be in possession of important, time-sensitive information and
 3             seems to be willing to pass a positive message -- that Hmong-American support for
 4             attempts to destabilize the Lao Government violates U.S. laws -- the FBI may have interest
 5
               in contacting him, and the Department may have an interest in supporting the
 6
               dissemination of this message. Dr. Yang Dao asks the Department to write letters directly
 7
               to Hmong groups in the United States to repeat this message. Please see our action requests
 8
               in paragraph 13.”
 9
               The Wikileaks article shows entries from official United States records as of June 11,
10
               2007.
11

12
               2. Article from Communist Party of Vietnam online newspaper
13
               https://en.dangcongsan.vn/overseas-vietnamese/overseas-vietnamese-professor-recalls-
14
               memories-about-president-ho-chi-minh-597505.html
15

16             Pages of interest:

17             Page 2: “Prof. Dr. Yang Dao also expressed emotion when recalling the first time he

18             visited Uncle Ho's Mausoleum and, like other Vietnamese far from home, he always
19             remembers Uncle, hoping to have the opportunity to return home every year and visit
20
               Uncle Ho's Mausoleum.
21
               His family belongs to H’Mong ethnic minority in Meo Vac District, Ha Giang Province. He
22
               was the first H’Mong ethnic minority person to receive a doctoral degree in social sciences
23

24             from the Sorbonne University, France. After that, he and his family moved to live and work

25             in Minnesota, the US.

26
27                                                                                                      10
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               He taught Southeast Asian anthropology at the University of Minnesota, Minnesota, until
 1

 2             retirement. He has always made active contributions in uniting the H'Mong community and

 3             the Vietnamese community in order to promote the national cultural identity and connect

 4             people with the homeland./.
 5
               3. Article from AsianFuse.net
 6
               https://asianfuse.net/discuzz/threads/yang-dao.30861/
 7
               The article has excerpts of a community chat forum that has content about Dr. Yang Dao’s
 8
               status as a Lao spy working in the United States, as seen by the following entry.
 9

10             Pages of interest: page 3
11
               “tavang sarNie Juvenile
12
               he's 100% vietnamese. he's not even hmong. i don't hate him cuz he's viet. i hate him cuz
13
               he's working with the laos government and all trying to ruined us hmong peeps and he's
14
               a TRAITOR!!! he was lucky enough that a hmong family took him in as their child when
15
               no one else wanted him and this is what us hmong peeps get? it's just messed up.”
16

17
               4. YouTube Video:
18
               https://youtu.be/GW5lm9PbgRk?si=VSbDa4WQG2UyWOnh
19

20             "Dr.Yang Dao Communist Spy receiving a Certificate Award from the Government of Lao

21             PDR in Vientiane"; 10:15 in duration.

22             Description of YouTube: The video showed all the Lao and Hmong individuals overseas

23             who worked for the Lao government [names unknown to plaintiffs]. These operatives are

24             working in Fresno, CA and St. Paul, Minnesota, and Washington D.C., and other locations,
25             and continue through to the date of the filing of this complaint to operate as spies for Laos.
26
27                                                                                                         11
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 1             The persons receiving the awards are not seen making any speeches, only the person that
 2             make the video does the talking.
 3             There are two Hmong individuals also appeared on the video. One is George Vue in
 4             Fresno, CA and the other one is Chao Lee from the Twin Cities and he is staff member of
 5
               US Congresswoman Betty McCollum Office. However, the video did not show they
 6
               receive any awards. We all believed they are the network of Dr. Yang Dao political
 7
               operatives.
 8
               The video was filmed in Vientiane Laos in 11/16/2010.
 9
               The video also shows other US-based Laos PDR spy operatives. The names and identities
10
               of which are not known to plaintiffs, also receiving recognition for good service.
11

12
               5. Further Youtubes:
13
                "NEO LAO SANG XAT MEDAL DECORATION TO LAO-OVERSEAS 1.mpeg" on
14

15             YouTube, https://youtu.be/PoHGsOFIxLM?si=uoQGxizadUc6AoSa

16             8:43 mins

17             A summary of this video is as follows: The video shows defendant Dr. Yang Dao and other

18             Lao PDR USA-based spies receiving awards and recognition for their good service.

19

20             6. “Dr. Yang Dao of Neo Lao Sang Xat, Communist Agent”
21             https://youtu.be/Ihw4TBs6Sqc?si=7WmfGCavkEIiozzF; 1:00 min
22

23
     The basic thrust of the complaint is that Dr. Dao, while inside the territory of the United States,
24
     did actually spy on Hmong political leaders such as plaintiffs in this action, and did report back to
25
     the government allows on his findings as an operative spy those findings included that the
26
     Plaintiffs were engaged in activities to create a Hmong homeland the Hmong people are without a
27                                                                                                         12
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 1 Homeland and are comparable to the challenges presented to the Jewish people before the creation

 2 of the nation state of Israel. The Jewish population had become spread out throughout the world,

 3 including all of Western Europe, Eastern Europe, and throughout modern-day Russia, and was

 4 without a homeland until the establishment of Israel. In the same way, the Hmong people,

 5
     originally from China, spread out throughout Southeast Asia, including Laos, Vietnam, and
 6
     Thailand, and lived there peacefully loyal to the ruling monarchs of each country; indeed, some
 7
     became royal guards and royal soldiers that were relied upon by the various nation states. When
 8
     the Communists took over Vietnam and Laos, they destroyed everything that had to do with the
 9
     Royal family and monarchs. Laos retaliated against the Hmong people who were called upon by
10
     the United States CIA to engage in a secret war in Laos. That basic retaliation as described in the
11
     Complaint in this matter was that they would destroy Hmong people as a genocide, and engaged in
12
     summary executions, rape of the young women, and mutilations of the young men including the
13

14 chopping off of genitals, all in a general effort to eliminate not only the Hmong people who helped

15 the USA in its war against Laos but also the seed of those Hmong to make sure that they would

16 never exist again. See excerpts of the complaint, Exhibit D here to paragraphs 98-114, which

17 describe these ongoing atrocities against the Hmong people.

18
19 We point out one of the unique features of this genocide is it is not simply a historical event it is

20 something going on right now and that continues to take place in the country of Laos. It also

21 continues in the form of Dr. Dao’s activity as a spy, along with other spies that he developed as

22 part of his own network to keep track of Hmong people in the United States, and generally report

23
     back to Laos about any political activities. When Dr. Dao learned that the group of Hmong people
24
     headed up by Plaintiff Seng Xiong were attempting to create for the first time ever a Hmong
25
     homeland, he took steps inside the territory of the United States to make sure that that would never
26
     happen. Those particular steps were to falsely report to US law enforcement that Seng Xiong was
27                                                                                                         13
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 1 engaged in some type of fraudulent activity and did not have the actual intent of ever setting up a

 2 Hmong homeland. See excerpts of complaint attachment C hereto, paragraph 20, 27-31; and 58-

 3 62 for the details of Dr. Dao's personal and individual involvement

 4

 5
     We note the following published United States District Court decision upholding an alien tort
 6
     claims act claim involving a Uganda leader who while in New York was actively lobbying and
 7
     promoting efforts to outlaw same-sex relationships in Uganda and to commit various torts arising
 8
     from those efforts The case is Sexual Minorities Uganda v. Lively, 960 F. Supp. 2d 304, 323-24
 9
     (D. Mass. 2013) [treaty-violating conduct, involving trips from USA to Uganda; lobbying efforts
10
     to government officials in Uganda arising from the USA]:
11
               “The Amended Complaint adequately sets out actionable conduct undertaken by Defendant
12
               in the United States to provide assistance in the campaign of persecution in Uganda. To
13
               review these allegations, and at the risk of repetition, the Amended Complaint alleges that
14

15             Defendant resides and operates out of Springfield, Massachusetts. (Dkt. No. 27, Am.

16             Compl. ¶ 8.) It describes how, after Defendant traveled to Uganda in 2002, he continued to

17             assist, manage, and advise associates in Uganda on methods to deprive the Ugandan

18             LGBTI community of its basic rights. (Id. at ¶¶ 47, 55–56.) Defendant's Ugandan co-

19             conspirators then contacted him in the United States in 2009 to craft tactics to counter the
20             Ugandan High Court ruling confirming that LGBTI persons enjoyed basic protections of
21             the law. (Id. at ¶ 36.) After going to Uganda in 2009, Defendant continued to communicate
22             from the United States through Martin Ssempa to members of the Ugandan Parliament
23
               about the legislation proposing the death penalty for homosexuality. From his home in the
24
               United States, he reviewed a draft of the legislation and provided advice on its content.
25
               (Id. at ¶¶ 140, 161.) Given that Defendant is a United States citizen living in this country
26
               and that the claims against him “touch and concern the territory of the United States ...
27                                                                                                            14
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 1             with sufficient force to displace the presumption against extraterritoriality,” a cause of
 2             action is appropriate under the ATS. Kiobel, 133 S.Ct. at 1669”
 3

 4 This case is right on point and shows a circumstance where the activities complained of occurred

 5
     overseas in Uganda but were buttressed by behavior and conduct inside the territory of the United
 6
     States to promote and lobby those efforts similar to this case, the activities being complained of
 7
     primarily occurred in Laos we do not know of any incident where allows official as somehow
 8
     murdered raped or tortured among person in the United States but just like in the Uganda case the
 9
     case here is where there are people from Laos appointed by Laos to spy on the Hmong people here
10
     and to trip them up if they should try to make their own remedies to the tragedies and atrocities of
11
     what happened in Laos by setting up a new nation state for Hmong people
12

13

14 Based on the foregoing Dr. Dao's motion to dismiss should be denied.

15
          C. Plaintiffs’ Complaint Sufficiently Alleges Subject Matter Jurisdiction and Personal
16           Jurisdiction over Defendant Dao, and his Motion to Dismiss based on Jurisdictional
             Grounds should be Denied
17
     Defendant Dao’s motion includes a phrase that he is challenging either personal or subject matter
18
     jurisdiction [See Exhibit B, hereto, pages 2-3]:
19
               “The Court must dismiss the Complaint with regards to me because:
20

21             Within the four corners of the Complaint and on its face, the Complaint fails to establish

22             jurisdiction, venue, or state a claim from which relief can be granted;

23             All the allegations with regards to me are not true and do not have any basis in facts;

24             The Plaintiffs wish to sue a foreign state, its ministers, and asks this Court to hold an entire

25             country, to which this Court does not have jurisdiction over, responsible for what may or

26
27                                                                                                           15
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 1             may not be their domestic policies over their own citizens AND this has nothing to do with
 2             me, a private US citizen;
 3             I have not violated any “Law of Nations” or any laws in the United States, abroad, or
 4             international laws; and
 5
               I have not caused the Plaintiffs any damages.”
 6

 7        1. The Complaint sufficiently alleges subject matter jurisdiction
 8
     As to subject matter jurisdiction, the Court does have subject matter jurisdiction because this is an
 9
     action arising under federal law, the Alien Tort Claims Act, 28 USC section 1350.
10

11
     Subject matter jurisdiction is further confirmed by the fact that Defendant Dao has been operating
12

13 as a spy for Laos inside the territory of the United States. The Complaint is very specific about

14 what the Defendant has been doing in the United States as far as spying on Hmong people,

15 reporting back to Laos, and causing injury to Plaintiffs in the process. See excerpts of complaint

16 pages 6-28, attached as Exhibit C to this legal brief. See also the charging allegations of the alien

17 toward claims act claims, complaint pages 58-62, attached to this legal brief as Exhibit D.

18
19 As noted above, the main thrust of defendant Dao’s motion is that the claims are not true. This is

20 not a basis for a motion to dismiss, either on jurisdictional grounds, subject matter jurisdiction

21
     grounds, or any other grounds. The Defendant’s motion has not articulated how the Court doesn't
22
     have jurisdiction over this Alien Tort Claims Act case, other than to say the allegations are not
23
     true.
24

25
     We again cite the Sexual Minorities Uganda v. Lively case, noted above in Argument B, for the
26
     proposition that the court does have subject matter jurisdiction and personal jurisdiction over an
27                                                                                                        16
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 1 individual defendant who engages in conduct inside the territory of the United States to advance

 2 the agenda of a foreign country’s activities that constitute a tort against individual residents of that

 3 country. See Sexual Minorities Uganda v. Lively, 960 F. Supp. 2d 304, 323-24 (D. Mass. 2013),

 4 quoted above.

 5

 6        2. The Uncontroverted allegations of the complaint are sufficient to establish personal
             jurisdiction over Dao
 7

 8 The Uncontroverted allegations of the complaint are sufficient to establish personal jurisdiction

 9 over Dao. We incorporate and refer to the specific events that defendant Dao caused to occur in

10 the state of California, and in particular, Fresno and Sacramento, CA, as are specified in the

11 Complaint, and are analyzed and discussed below in argument D, regarding Defendant’s challenge

12
     to venue. See Exhibit C to this brief, Excerpts of the complaint discussing the events that occurred
13
     not only in the United States, but also specifically within the Eastern District of California. See in
14
     particular paragraphs 21-26 re the plaintiffs’’ Hmong homeland entities; 27-31 re activities of Dr.
15
     Dao; and paragraphs 32-43 re the criminal prosecution United States v. Jack, CR-07-266-FCD;
16
     and paragraphs 44-62 re the criminal prosecution of Seng Xiong We also point out that the
17
     defendant Dao’s spy network includes spy operatives that defendant is working with within the
18
     state of California and within the Eastern District of California. See complaint paragraph 56-62
19
     which states:
20

21             “56. In addition to Defendant Yang Dao, Plaintiffs are aware of the names of at least two

22             others such Lao PDR spy operatives working inside the territory of the United States to

23             collect information concerning Hmong political activities and reporting that information

24             back to Laos PDR officials: George Vue, and Dr. Sam Thao.

25             57. These Laos PDR directed spying activities in the USA occur at a substantial level in

26             Fresno, California and other locations within the Eastern District of California.
27                                                                                                         17
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 1             58. In Seng Xiong’s criminal case in Minnesota, Defendant Dr. Yang Dao had publicly
 2             warned Seng Xiong and his group that they must stop and cease any activities in the
 3             pursuit of a Hmong Country because there is no laws allowing the Hmong People to have a
 4             Country. Dr. Dao further said and told the US government, US Prosecutor's Office, St.
 5
               Paul Police Officers, and US Secret Service that there is no place, no land left anywhere in
 6
               Southeast Asia or Asia for Hmong to have a country. Therefore, he argued that Seng
 7
               Xiong’s mission to establish a Hmong Country is fraudulent, and those supporting the
 8
               Mission by voluntary donating money to the Mission are victims.
 9
               59. All these things are untrue and lies given by Dr. Yang Dao. Furthermore, Dr. Yang
10
               Dao had lobbied Steve Moua (a key witness in the criminal) to work and cooperate with
11
               him.
12
               60. One of other things that the US Prosecutor in Minnesota told Seng Xiong’s lawyer
13
               Allan Chaplain that the real reason the US government decided to arrest Seng Xiong was
14

15             that he sold 10 acres of land in a foreign country, which is a lie told to US Prosecutor

16             Office by Hmong Attorney Sia Lor in Minnesota.

17             61. Dr. Yang Dao has thus recruited many Hmong intellectuals, Veterans of the old

18             NeoHom people, General Vang Pao's sons to work with him to stop Seng Xiong’s mission.

19             62. A reasonable inference of the facts in light of what we know about what they did in the
20             Minnesota case against you is that it was the result of Laos PDR spy operatives in the USA
21             working with USA law enforcement to bring about false claims and false charges against
22             politically-active Hmong individuals.”
23

24
     The federal criminal action is further described in the following Exhibits attached to the
25
     complaint:
26
27                                                                                                        18
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 1             Exhibit B: Submission of statements by the United States Attorney for the Eastern District
 2             of California regarding its reasons for dismissing the criminal case against General Pao and
 3             other Hmong defendants (not Plaintiffs herein) that admit a host of lies were used in that
 4             case. These statements are made to support Plaintiffs’ contentions and allegations that the
 5
               Laos government does operate a spy network in the territory of the United States and in the
 6
               Eastern District of California to spy on Hmong people and to falsely report peaceful
 7
               activities as being criminal activities leading to false prosecutions and a dismissal.
 8
               Exhibit C: Excerpts of Appellants’ Opening Brief in Vang et al. v. Decker et al., Ninth
 9
               Circuit Court of Appeals Case No. 16-15443
10

11
     These facts are not controverted by the defendant, other than his unsupported conclusionary
12
     statement that all of the allegations against him are untrue.
13

14

15 Based on the foregoing, the Plaintiffs have alleged sufficient allegations to show personal

16 jurisdiction through minimum contacts with the State of California that are transaction-specific,

17 e.g. part of the spiring created maintain and kept by defendant Dao within the state of California

18 and within the Eastern District of California. Asahi Metal Industry Co. v. Superior Court of
19 California, 480 U.S. 102 (1987); J. McIntyre Machinery, Ltd. v. Nicastro, 564 U.S. 873 (2011);

20 and Goodyear Dunlop Tires Operations, S.A. v. Brown 564 U.S. 915 (2011) allow personal

21 jurisdiction over those who purposely market a product in the forum state and have continuous

22 contacts with that state. See also World-Wide Volkswagen Corp. v. Woodson, 444 US 286, 297-

23
   298 (1980):
24        “When a corporation "purposefully avails itself of the privilege of conducting activities

25             within the forum State," Hanson v. Denckla, 357 U.S. at 357 U. S. 253, it has clear notice
26             that it is subject to suit there, and can act to alleviate the risk of burdensome litigation by
27                                                                                                               19
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               procuring insurance, passing the expected costs on to customers, or, if the risks are too
 1

 2             great, severing its connection with the State. …The forum State does not exceed its powers

 3             under the Due Process Clause if it asserts personal jurisdiction over a corporation that

 4             delivers its products into the stream of commerce with the expectation that they will be
 5
               purchased by consumers in the forum State.”
 6

 7
     Defendant Dao purposefully availed himself of the State of California sufficiently enough to allow
 8
     for personal jurisdiction over him for Courts in the State of California, including the United States
 9

10 District Court for the Eastern District of California.

11

12 We also point out that motions challenging personal jurisdiction are evidentiary in nature. See Will

13
     Co., Ltd. v. Lee, No. 21-35617 (9th Cir. 2021):
14
               "When a defendant moves to dismiss a complaint for lack of personal jurisdiction, the
15
               plaintiff bears the burden of demonstrating that jurisdiction is appropriate. See
16

17             Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004). When the

18             Defendant’s motion is based on written materials rather than an evidentiary hearing, as is

19             the case here, “we only inquire into whether [the plaintiff’s] pleadings and affidavits make
20             a prima facie showing of personal jurisdiction.” Id. (alteration in original) (quoting Caruth
21
               v. Int’l Psychoanalytical Ass’n, 59 F.3d 126, 128 (9th Cir. 1995)).
22
               Uncontroverted allegations in the complaint must be taken as true, and conflicts between
23
               parties over statements contained in affidavits must be resolved in the plaintiff’s favor. Id."
24

25

26
27                                                                                                          20
     Xiong et al. v. Laos
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     In his motion to dismiss, other than saying the statements aren't true, defendant does not actually
 1

 2 controvert the claims that various aspects of his spying behavior occurred in Fresno and

 3 Sacramento. The specific allegations of the complaint should be deemed uncontroverted.

 4

 5
     Defendant failed to provide any evidence, such as a declaration under oath or other admissible
 6
     evidence, attesting to whatever factual claims he is asserting in his personal jurisdiction challenge.
 7
     We have placed specific allegations of conduct committed by the defendant in the State of
 8
     California and within the Eastern District of California, which Defendant has failed to rebut by
 9

10 any kind of admissible evidence. Accordingly, the motion to dismiss based on lack of personal

11 jurisdiction should be denied.

12

13
     Based on the foregoing, the motion to dismiss based on subject matter jurisdiction and/or personal
14
     jurisdiction should be denied.
15
          D. The Complaint Adequately Alleges a Substantial Occurrence of Events Within the
16           Eastern District of California to Authorize Venue within the Eastern District of
17           California
     The motion to dismiss also challenges venue in the Eastern District of California. Venue is
18
19 authorized by 28 USC section 1291(b):

20             “(b)VENUE IN GENERAL.— A civil action may be brought in—

21             (1) a judicial district in which any defendant resides, if all defendants are residents of the

22             State in which the district is located;

23             (2) a judicial district in which a substantial part of the events or omissions giving rise to the
24             claim occurred, or a substantial part of property that is the subject of the action is situated;
25             or
26
27                                                                                                              21
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 1             (3) if there is no district in which an action may otherwise be brought as provided in this
 2             section, any judicial district in which any defendant is subject to the court’s personal
 3             jurisdiction with respect to such action.”
 4

 5
     The Complaint at paragraphs 21-26; specifies the following substantial occurrence of events inside
 6
     the Eastern District of California.
 7

 8
     See also Complaint, paragraphs 32-43, the curious case of a bizarre scam case filed by the US
 9
     attorney's office against Hmong heroes including their General Vang Pao, in which they made a
10
     bizarre accusation, later to be dismissed, that the Hmong people had waged a war against Laos.
11
     This scam of a case was filed in the Eastern district of California and is in part the result of false
12
     information given by defendant Dao and his collection of spy operatives located within the Eastern
13

14 District of California.

15

16 Based on these allegations, the Court can see that there are substantial events that happen inside

17 the state of California. The Hmong homeland/country conduct and behavior of the plaintiffs

18 occurs substantially in California, and the efforts to stop that Hmong country formation process
19 has been pointed toward the entities created by the plaintiffs inside the state of California and

20 specifically in Fresno, California which is in the Eastern District of California. The defendant Dao

21 also keeps other spy operatives within the Fresno and Sacramento area, which has been specified

22 in the Complaint. Based on those allegations, sufficient occurrences have been stated that

23
     constitute substantial occurrences within the Eastern District, and the motion to dismiss based on
24
     improper venue should accordingly be denied.
25

26
27                                                                                                            22
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          E. As Alternative Relief, Plaintiffs Request Leave to Amend
 1
     As alternative relief in the event of court finds any inadequacies in the complaint plaintiffs request
 2
     leave to amend to cure those inadequacies.
 3

 4
                                                   V.
 5                                             CONCLUSION

 6 Based on the foregoing, Dr. Dao's motion to dismiss should be denied. In the alternative, the Court

 7 should grant Plaintiffs leave to amend to cure any inadequacies of the Complaint determined by

 8 the Court.

 9

10

11
     Respectfully Submitted,
12

13 __/s/ Herman Franck, Esq.____________                                          February 6, 2024
   Herman Franck, Esq.
14 Attorney for Plaintiffs

15

16

17

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19

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27                                                                                                       23
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 1                                         LIST OF EXHIBITS
 2
   Exhibit A: Court’s Minute Order dated January 26, 2024 setting a hearing on Defendant Yang
 3 Dao’s motion to dismiss on March 28, 2024 at 1:30pm in Courtroom 10

 4 Exhibit B: January 18, 2024 Letter from Dr. Yang Dao to the Court [filed January 23, 2024] and
   construed as a motion to Dismiss
 5

 6 Exhibit C: Excerpts of Plaintiffs’ Complaint, section II [Parties] and Section III: Conduct of
   Defendants Occurring within the Territory of the United States and Within the Eastern District of
 7 California [pages 6-28]

 8 Exhibit D: Excrepts of Plaintiffs’ Complaint, section V. First Claim for Relief for Violation of the
   Alien Tort Claims Act
 9

10 Exhibit E: Entry of Default by the USDC for the EDCA, February 5, 2024 against Laos-based
   defendants [NOT against Defendant Yang Dao]
11

12

13

14

15

16

17

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27                                                                                                   24
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